Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 1 of 22




 ATTACHMENT 1
  REDACTED VERSION OF
 DOCUMENT SOUGHT TO BE
        SEALED
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 2 of 22



1                                       UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF CALIFORNIA
2
                                              SAN JOSE DIVISION
3
       SENTIUS INTERNATIONAL, LLC,                               Case No. C-13-0825-PSG
4
                         Plaintiff,                              DECLARATION OF DR. VIJAY
5
                                                                 MADISETTI IN SUPPORT OF SENTIUS
6               vs.                                              INTERNATIONAL, LLC’S OPPOSITION
                                                                 TO DEFENDANT’S MOTION FOR
7      MICROSOFT CORPORATION,                                    SUMMARY JUDGMENT OF NO
                                                                 INFRINGEMENT
8
                         Defendant.
9                                                                Date: January 13, 2015
                                                                 Time: 10:00 a.m.
10                                                               Judge: Hon. Paul S. Grewal
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 3 of 22



1                                 DECLARATION OF DR. VIJAY MADISETTI
2              I, Vijay Madisetti, hereby declare:
3              1.        I have been retained by Sentius in this case as a testifying technical expert. On
4    September 8, 2014, I submitted an expert report regarding infringement in this case, a true and
5    correct copy of which is attached hereto as Exhibit A and referred to herein as “my report.”
6              2.        I have been asked to provide this declaration concerning Defendant Microsoft
7    Corporation’s Motion for Summary Judgment of No Infringement (Direct, Indirect, or Willful)
8    (“Microsoft’s Motion”) in the above-captioned case. I have personal knowledge of the facts stated
9    herein.
10             3.        In particular, I have been asked to review Microsoft’s Motion and provide a
11   declaration regarding Microsoft’s arguments concerning non-infringement. I have also been asked
12   to consider certain limitations of the asserted claims and the Court’s claim construction in this
13   case.
14             4.        I have reviewed Microsoft’s Motion and its accompanying documentation. In the
15   motion Microsoft argues that it does not infringe because it does not record a link to external
16   reference materials in a look-up table as claimed. In making this argument, Microsoft does not
17   actually contest that the spell check table, grammar check table, or actions table in the accused

18   products do not literally or equivalently act as look-up tables, or do not record the required starting

19   and ending addresses of terms or phrases of interest. Rather, Microsoft argues that no linking

20   information to external reference material for that word or phrase of interest is recorded in the

21   look-up table because the recording of the fError flags in the spell check and grammar check look-

22   up tables corresponding to words or phrases of interest does not act to link such words or phrases

23   to anything. This is not correct.

24             5.        As I explain herein, in the accused products, a link to external reference

25   information is recorded in the look-up tables in at least three ways, all of which are consistent with

26   the Court’s construction of the claim term. First, the link points the system to the appropriate set

27   of libraries (spell check or grammar dictionaries, for instance) containing external reference
                                                                 1
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 4 of 22



1    material for display for the document containing the given word or phrase. Second, the link points
2    to the specific language library (e.g., English spell check dictionary) containing the external
3    reference material for display for the given word or phrase. Third and finally, the link points to the
4    specific information to be displayed (e.g., the spelling correction) from the library.
5             A.         The Use of Link Information Described for the Preferred Embodiment of the
                         Asserted Patents
6
             6.          The specification of the asserted ‘731 and ‘633 reissue patents in this litigation
7
     describes a process in which a document is loaded into memory and parsed to identify terms or
8
     phrases of interest. The relative locations of the identified terms or phrases of interest are recorded
9
     in a look-up table. Linking information is also recorded for each identified term or phrase of
10
     interest, whereby the linking information allows the system to retrieve external content
11
     corresponding to that term or phrase.
12
             7.          When a user indicates an interest in getting more information about a term or
13
     phrase of interest, such as by right clicking a term or phrase at a particular cursor point, the system
14
     selects the indicated portion, determines its address, converts the address to an offset value relative
15
     to the beginning position of the document, compares the offset value to the starting and ending
16
     addresses stored in the table to identify if it corresponds to a piece of the document for which a
17
     link has been recorded, and then uses the linking information to access and retrieve external
18
     reference information for display in a pop-up window.
19
             8.          In a preferred embodiment shown in the specification, the external reference
20
     information is shown (in part) as the text “Japanese economy” being displayed adjacent to a set of
21
     Kanji characters representing in Japanese the term “Japanese economy”:
22

23

24

25

26

27
                                                                 2
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 5 of 22



1

2

3

4

5

6

7

8

9

10

11

12           9.          As shown in Figures 3 and 4 of the ‘731 patent for an exemplary embodiment, the
13   ‘731 provides a system that allows select terms in a document to be highlighted and additional
14   information associated with that term readily retrieved from a database and displayed in a pop-up
15   window near the term.
16

17

18

19

20

21

22

23

24

25

26

27
                                                                 3
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 6 of 22



1            10.         As shown above in Figure 2 of the ‘731 patent for the exemplary embodiment, the
2    external material for display for a given term is provided via recording in a look-up table the
3    relative positions (offsets) of select terms or phrases within the parsed document that the system
4    has determined to have associated information to retrieve and display (in response to a request
5    from a user) along with a pointer that is used to retrieve the corresponding associated information
6    from the database.
7            11.         In Figure 2, the preferred embodiment records the link information in the form,
8    e.g., of “text, 200” corresponding to the character position “25” which the user indicated (or right
9    clicked on). This link information points the system to the “text” database and instructs the system
10   to use the value “200” to retrieve from the text database the external reference information for the
11   clicked on word, thereby linking the word to external reference information. See also sections
12   III(A)(1) and III(B)(2) of my report.
13           12.         Likewise, in the accused products, link information is recorded in a look-up table
14   that instructs the system how to retrieve external reference information such as suggested spelling
15   or grammar corrections from spell check or grammar check libraries appropriate for the clicked on
16   word or phrase, as will be further described herein. For example, the recording of an fError flag
17   (i.e., setting the fError flag value to “1”) in the SPLS structure (the PLC Tables containing the

18   SPLS structures are the claimed “look-up table”) corresponding to a particular entry in the spelling

19   PLC table (a) points the system to the appropriate spelling library for the clicked on word and (b)

20   instructs the system to use the character string of the clicked on word to (c) retrieve the spelling

21   corrections from that library, thereby linking the word to external reference information.

22           B.          The Accused Products

23           13.         The Accused Products for the ‘731 and ‘633 patents are the 2013, 2010, and 2007
24   versions of Microsoft Word, Outlook, PowerPoint, OneNote, and Publisher for Windows, and the
25   2011 versions of Microsoft Word, Outlook, and PowerPoint for Macintosh. For the ‘731 and ‘633
26   patents, the accused functionality is the spell check functionality of each of the accused products;
27   the grammar check functionality of Word and Outlook in both Windows and Macintosh versions,
                                                                 4
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 7 of 22



1    and the “Actions”/”Smart Tags” functionality of Word, Outlook, and PowerPoint in Windows.
2    The “Actions”/”Smart Tags” functionality is accused only for the 2007 Office version. The
3    “Actions”/”Smart Tags” functionality in the 2010 and 2013 Office versions is not accused.
4            14.         The Accused Products include a background spell check feature, background
5    grammar check feature, and/or an actions/factoids feature (also referred to as “Smart Tags”) that
6    for the purpose of opposing Microsoft’s Motion all work substantially similarly. Generally, when
7    a Microsoft Word document is opened into memory (“in-memory representation”) it may be
8    operated upon by the MS Word program, which knows where the “character stream” is stored in-
9    memory as well as the “table stream.” The document is parsed and the parsed terms or phrases are
10   checked against spell check, grammar check, and Smart Tags libraries to identify words or phrases
11   for which the program wants to link to additional information. In the case of the spell check, for
12   example, the Microsoft Word spell checker would identify potentially misspelled words for which
13   it would want to link to suggested spelling corrections.                   Likewise, for grammar check, the
14   grammar checker would identify potentially grammatically incorrect phrases for which it would
15   want to link to suggested grammatical corrections.                      For actions, the accused “Actions”
16   functionality would identify terms for which it would want to link to additional information, such
17   as stock performance information on Microsoft MoneyCentral.

18           15.         For each such identified term or phrase, the respective functionality (spell check,

19   grammar check, or “Actions”) records in its own look-up table the character position (offset) for

20   that term or phrase along with linking information that is used to retrieve the associated material.

21   In the case of the spell checker and grammar checker, it will also highlight or underline such terms

22   or phrases with red (misspellings) and green/blue squiggles (incorrect grammar). The accused

23   “Actions” functionality (i.e., Office 2007 only) highlights actions terms with purple squiggles.

24           16.         When a user, for example, right clicks on a misspelled word or a grammatically

25   incorrect word or phrase, the system (a) selects the corresponding location for which it wishes to

26   translate the screen position to a character position, (b) translates that screen position to a character

27   position, (c) looks up that character position in the corresponding spell check or grammar check
                                                                 5
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 8 of 22



1    table and (d) if there is a link to external materials for that term or phrase, executes that link to
2    retrieve its corresponding additional information from a respective spell check, grammar check or
3    actions database (library).
4            17.         Each of the accused functionalities records a link in a look-up table that is
5    associated with a given word or phrase of interest that is used to retrieve corresponding
6    information for display. For example, the recording of the fError flag in a spell check look-up
7    table points the system to the spell check libraries for the document and links the misspelled word
8    thereto.    Moreover, the recording of the fError flag at a given index location in the spell check
9    look-up table points the system to the information to be retrieved from the appropriate spell check
10   library for display by pointing to the character string needed to be passed to the spell check library
11   in order to retrieve the corresponding spelling corrections for display. There is no requirement in
12   the claim that limits the link to only a direct link (i.e. that the pointer directly point to the
13   information for display) and Microsoft has previously conceded that a link can be indirect or
14   direct. Moreover, the Court’s construction does not require that a pointer point to an address.
15   Indeed, the dependent claims make clear that the link can be any information that is used to
16   retrieve the corresponding external information for display for a given word or phrase of interest.
17   Here, the recording link in the spell check table not only points to and links the misspelled word to

18   at least one spell check library from which the spelling corrections will be retrieved, but also points

19   to and links the misspelled word to its suggested spelling corrections.

20           18.         Likewise, the recording of the fError flag in a grammar check look-up table points

21   the system to the grammar check libraries for the document and links the grammatically incorrect

22   word or phrase thereto. The recording of the fError flag at a given index location in the grammar

23   check look-up table points the system to the information to be retrieved from the appropriate

24   grammar check library for display by pointing to the character string needed to be passed into the

25   grammar check library in order to retrieve the corresponding spelling corrections for display.

26   Thus, the recorded link in the grammar check table not only points to and links the grammatically

27   incorrect word or phrase to at least one grammar check library, but also points to and links the
                                                                 6
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 9 of 22



1    grammatically incorrect word or phrase to its suggested grammatically corrections to be retrieved
2    from the appropriate grammar check library for that word or phrase.
3            C.          The “Link” Limitation
4            19.         Claim 96 of the ‘731 patent recites:
5                      A method for linking textual source material to external reference
                materials for display, the method comprising the steps of:
6
                         determining a beginning position address of textual source material
7                               stored in an electronic database;
                         cutting the textual source material into a plurality of discrete pieces;
8
                         determining a starting point address and an ending point address of at least
9                                one of the plurality of discrete pieces based upon the beginning
                                 position address;
10                       recording in a look up table the starting and ending point addresses;
                         linking at least one of the plurality of discrete pieces to at least one of a
11
                                 plurality of external reference materials by recording in the look-
12                               up table, along with the starting and ending point addresses of the
                                 at least one of the plurality of discrete pieces, a link to the at least
13                               one of the plurality of external reference materials, the plurality of
                                 external reference materials comprising any of textual, audio,
14
                                 video, and picture information;
15                       displaying an image of the textual source material;
                         selecting a discrete portion of the displayed textual source material image;
16                       determining a display address of the selected discrete portion;
                         converting the display address of the selected discrete portion to an offset
17
                                 value from the beginning position address;
18                       comparing the offset value with the starting and ending point addresses
                                  recorded in the look-up table to identify one of the plurality of
19                               discrete pieces;
                         selecting one of the plurality of external reference materials corresponding
20
                                  to the identified one of the plurality of discrete pieces;
21                       retrieving the selected one of the plurality of external reference materials
                                  using a recorded link to the selected one of the plurality of
22                                external reference materials; and
                         displaying the retrieved external reference material.
23
             20.         Claim 146 of the ‘633 patent recites:
24
                        A computer-implemented method for linking textual source material
25
                to external reference materials for display, the method comprising the steps of:
26                       determining a beginning position address of textual source material stored
27
                                in an electronic database;
                                                                 7
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 10 of 22



1                        cutting the textual source material into a plurality of discrete pieces;
                         determining a starting point address and an ending point address of at least
2

3                                 one of the plurality of discrete pieces based upon the beginning

4                                position address;
                         recording in a look up table the starting and ending point addresses;
5
                         linking at least one of the plurality of discrete pieces to at least one of a
6                                plurality of external reference materials by recording in the look-
                                 up table, along with the starting and ending point addresses of the
7                                at least one of the plurality of discrete pieces, a link to the at least
                                 one of the plurality of external reference materials, the plurality of
8
                                 external reference materials comprising any of textual, audio,
9                                video, and picture information;
                         selecting a discrete portion of an image of the textual source material;
10                       determining a display address of the selected discrete portion;
                         converting the display address of the selected discrete portion to an offset
11
                                 value from the beginning position address;
12                       comparing the offset value with the starting and ending point addresses
                                 recorded in the look-up table to identify one of the plurality of
13                                discrete pieces;
                         selecting one of the at least one of the plurality of external reference
14
                                 materials corresponding to the identified one of the plurality of
15                               discrete pieces; and
                         displaying on a computer the selected one of the plurality of
16                               external reference materials.
17           21.         The Court has construed the italicized limitations in both claims above to mean “a
18   pointer/pointers to data or information or the location of data or information that is external to the
19   source material.”
20           22.         I note for the purpose of this declaration that claim 96 of the ‘731 patent includes
21   a step of: “retrieving the selected one of the plurality of external reference materials using a
22   recorded link to the selected one of the plurality of external reference materials.” I also note that
23   this step is not contained in claim 146 of the ‘633 patent.
24           23.         Certain asserted dependent claims in both the ‘731 patent and the ‘633 patent
25   further specify that the link (i.e., pointer) may be any “reference information” that is used to
26

27
                                                                 8
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 11 of 22



1    retrieve the external materials for display.1
2            24.         A person of ordinary skill would understand that a link or pointer can be direct or
3    indirect, and that a pointer to the query values or keywords needed to retrieve the corresponding
4    information from a data set is a link to that corresponding information in a system in which a given
5    query value input to the database produces the same output result. See, e.g., section III(A)(2) of
6    my report explaining how query values or keywords passed to a database link to the specific
7    database results for that query value or keyword.
8            25.         The claim language requires a link to the at least one of the plurality of external
9    reference materials. For the accused spell check functionality of MS Word, for instance, the fError
10   field recorded in the SPLS data structure in the spelling PLC is a pointer to data or information or
11   the location of data or information that is external to the source material, because it points the
12   system to at least one spell check library for that document. Moreover, the at least one spell check
13   library or dictionary pointed to by the recording of the fError flag in the spell check look-up table
14   is (1) external to the source material, and (2) contains at least the materials that will be retrieved
15   for display.
16           26.         The fError flag is also used in the retrieving step for retrieving the selected one of
17   the plurality of external reference materials, because it uses the recorded link (i.e., the fError flag)

18   to identify the misspelled word and its location and also creates and points to the arguments passed

19   to the DLL used to retrieve the potential corrections.

20           27.         For example, the Court’s construction is met in the following three ways for the

21   accused spell check functionality. See also my report at section IX(A)(6).

22                       a. The fError flag being set to “1” in the SPLF structure in the spelling PLC table

23           points the system to the appropriate set of spell check libraries which contain the (at least

24           one or more) external reference materials;

25                       b. The fError flag being set to “1” in a particular SPLF structure in the spelling

26
       1
          For example, claim 154 of the ‘633 patent states: “[t]he method of claim 146, wherein the link
27
       is reference information for retrieving the selected one of the plurality of reference materials.”
                                                                 9
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 12 of 22



1             PLC table corresponding to the starting and ending character position locations of a given
2             misspelled word links the word to the specific language spell check library for that word
3             from which the corresponding spelling corrections will be selected and retrieved;
4                        c. The fError flag being set to “1” in a particular SPLF structure in the spelling
5             PLC table corresponding to the starting and ending character position locations of a given
6             word points the system to the character string of the misspelled word that, in turn, links that
7             character string to the corresponding spelling corrections from that specific spell check
8             dictionary for that given character string.
9             28.        Likewise, the Court’s construction is met in at least the following three ways for
10   the accused grammar check functionality. See also my report at section IX(A)(6).
11                       a.   The fError flag being set to “1” in the SPLF structure in the grammar PLC
12            table points the system to the appropriate set of grammar check libraries which contain the
13            (at least one or more) external reference materials;
14                       b. The fError flag being set to “1” in a particular SPLF structure in the grammar
15            PLC table corresponding to the starting and ending character position locations of a given
16            grammatically incorrect word or phrase links the word or phrase to the specific language
17            grammar check library for that word or phrase from which the corresponding grammar

18            corrections will be selected and retrieved;

19                       c. The fError flag being set to “1” in a particular SPLF structure in the grammar

20            PLC table corresponding to the starting and ending character position locations of a given

21            word or phrase points the system to the character string of the word or phrase that, in turn,

22            links that character string to the corresponding corrections from that specific grammar

23            dictionary for that given character string.

24            D.         The Recording of the fError Flag in a Spell Check Table Links a Misspelled
                         Word to the Spell Check Libraries for the Document.
25
              29.
26

27
                                                                10
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 13 of 22



1

2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
       2
          Microsoft does not contest in its Motion that the system selects a display address in response
26     to the user’s right-click and converts the display address to a character position value for the
       look-up in the spelling PLC (i.e., the spell check table). Thus, I do not address the specifics of
27
       that conversion here.
                                                                11
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 14 of 22



1             E.         The Recording of the fError Flag at a Particular Index Location in the Spell
                         Check Table Links a Misspelled Word to A Corresponding Spell Check
2                        Library for That Word.
3             32.        There is no genuine dispute that the accused background spell check functionality
4    identifies a misspelled word in an open Word document and records its starting and ending
5    character position locations in the spelling PLC. There is also no dispute that the accused table
6    sets the fError flag to “1” in an SPLS structure corresponding to that word’s character position
7    range.     The only issues before the Court in the Microsoft Motion with regard to the recorded
8    fError flag in the spell check table for the misspelled word are (a) whether the recorded fError flag
9    links that word to a corresponding spell check library and (b) whether the link is used to retrieve
10   the exact spelling corrections for that word. The answer to both of these questions is “yes.”
11            33.        I will first walk through what happens when a user right clicks on a misspelled
12   word and show how the misspelled word is linked to a corresponding spell check library through
13   the recording of the fError flag in the spell check table in the SPLS structure corresponding to that
14   word.
15            34.        The fError flag being set to “1” in the SPLS data structure in the spelling PLC
16   informs the system that the user has right clicked on a misspelled word and points the system to
17   the appropriate language spell check library for that word.
18            35.
19

20

21

22

23

24

25

26

27
                                                                12
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 15 of 22



1

2

3

4

5

6             38.        As shown previously, recording the fError flag in the SPLS structure of the
7    spelling PLC for the character position range of the clicked-on word points the system to the
8    language of the word and the corresponding language spell check library to be used to retrieve the
9    corresponding spelling corrections. See also sections IX(A)(6) and X(h) of my report.
10            F.         The Recording of the fError Flag at a Particular Index Location in the Spell
                         Check Table Links a Misspelled Word to the Specific Spelling Corrections
11                       for That Word.
12            39.        In addition to pointing to and linking a word to its appropriate spell check library,
13   the fError flag points to the values that need to be passed to the pointed to spell check library in
14   order to retrieve from the library the exact spelling corrections to be displayed for that word.
15            40.
16

17

18

19

20

21

22

23

24

25

26

27
                                                                13
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 16 of 22



1

2

3

4

5

6

7

8             G.         The Recording of the fError Flag in a Grammar Check Table Links a
                         Grammatically Incorrect Word or Phrase to the Grammar Check Libraries
9                        for the Document.
10            42.        Microsoft does not dispute in its Motion that the accused background grammar
11   check functionality identifies a grammatically incorrect word or phrase in an open Word document
12   and records its starting and ending character position locations in the grammar PLC. There is also
13   no dispute that the accused table sets the fError flag to “1” in an SPLS structure corresponding to
14   that word or phrase’s character position range. The only issues before the Court in the Microsoft
15   Motion with regard to the fError flag in the grammar check table for the character position range of
16   the grammatically incorrect word or phrase are (a) whether the recorded fError flag links that word
17   or phrase to a corresponding grammar check library and (b) whether the link is used to retrieve the
18   exact grammar corrections for that word or phrase. The answer to both of these questions is “yes.”
19            43.        I will first walk through what happens when a user right clicks on a grammatically
20   incorrect word or phrase and show how the grammatically incorrect word or phrase is linked to a
21   corresponding grammar check library via the recording of the fError flag in the SPLS structure
22   corresponding in the grammar check table corresponding to the character position range for that
23   word or phrase.
24            44.
25

26

27
                                                                14
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 17 of 22



1

2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19            H.         The Recording of the fError Flag in a Grammar Check Table Links a
                         Grammatically Incorrect Word or Phrase to a Corresponding Grammar
20                       Check Library for that Word or Phrase.

21            47.        As set forth above, the fError flag being set to “1” is the SPLS data structure in
22   the grammar PLC points the system to the set of grammar check libraries for that document.
23            48.
24

25

26

27
                                                                15
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 18 of 22



1

2

3

4

5

6

7

8

9

10

11

12

13

14            51.        Thus, a grammatically incorrect word or phrase is linked to the its corresponding
15   language grammar check library via the recording of the fError flag value as “1” in the SPLS
16   structure of the grammar PLC for the index entry corresponding to the right-clicked on character
17   position. See also sections IX(A)(6) and X(h) of my report.

18            I.         The Recording of the fError Flag at a Given Index Location in the Grammar
                         Check Table Points the System to the Values that Point to and are used to
19                       Retrieve the Grammar Corrections from the Corresponding Grammar
                         Check Library.
20
              52.        In addition to pointing to the appropriate grammar check library, the recording of
21
     the fError flag at a given index location in the grammar check table also points to the specific
22
     information that links the system to the grammar suggestions contained therein to be displayed to
23
     the user.
24
              53.
25

26

27
                                                                16
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 19 of 22



1

2

3

4

5

6

7

8

9

10

11

12

13

14

15

16                                               *            *               *
17            55.        Microsoft asserts: “There is no dispute that the accused ‘look-up table’ for these

18   two features (referred to internally by Microsoft as a ‘PLC’ data structure) instead stores an ‘error

19   flag’ – a binary value (a zero (0) or a one (1)) that indicates whether a particular location in the

20   document is marked as potentially misspelled or potentially grammatically incorrect. In the code,

21   this is referred to as an ‘fError’ flag.”

22            56.        I agree that there is an accused look-up table (the spelling PLC and grammar

23   PLC) in each of the accused background spell check and background grammar check features, and

24   that there is an fError flag used in the SPLS data structures of those tables that indicates whether a

25   particular piece of the document is potentially misspelled or grammatically incorrect. What is

26   missing in Microsoft’s description, however, is how that fError flag acts as a pointer.

27            57.        While it is true that a flag can be used simply to identify whether something is
                                                                  17
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 20 of 22



1    true or false, it is also true that a flag can be used as a direct or indirect pointer, depending on how
2    the system is programmed to use it. In the case of the accused functionalities the fError flag being
3    set to “1” in the respective spell check and grammar check tables acts as pointer in three ways, as I
4    have shown previously. The fError flag (which Microsoft asserts is ONLY a flag and is not also
5    used as a pointer) is also used as a pointer to external reference information, irrespective of
6    whether it is used as a status indicator. The fError flag in the respective accused functionalities
7    does in fact act as a pointer to external reference information on three levels.
8            58.         The fError flag is literally a pointer (it is) and the equivalent of a pointer (it is)
9    because it points the system to (a) the appropriate set of libraries; (b) to the actual library from the
10   appropriate set of libraries that will be used to retrieve the external content specific to a given word
11   (or phrase); and (c) to the specific content from that specific library by pointing to the specific
12   query values needed to be fed to the library to select, retrieve, and display the specific content.
13   The fError flag performs the same function as a pointer and for exactly the same purpose and
14   exactly in the same way as an indirect pointer for all the reasons set forth herein.
15           59.         The recording of the fError flag in a given look-up table (e.g., the spelling PLC or
16   the grammar PLC) points the system to the appropriate set of libraries (e.g. spelling or grammar).
17   The recording of the fError flag at a given index location in the given table points the system the

18   specific language library (e.g. English spelling library or French grammar library) for the

19   corresponding word or phrase via the language identifier for that word or phrase. The recording of

20   the fError flag at a given index location in a given table also points the system to the actual

21   character string of the corresponding word or phrase which links to and is used to retrieve the

22   specific information for display from that specific language library (e.g. the specific spelling

23   corrections for that English word from the English spelling library or the specific grammar

24   corrections for that French phrase).

25           60.         Microsoft asserts: “Sentius’ expert acknowledges that the accused products call

26   the spelling and grammar engine before the error flag value is even set in order to determine what

27   value to give that error flag. [Ex. I at 85:23-86:12.] In other words, the accused products are able to
                                                                18
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 21 of 22



1    locate the dictionaries irrespective of any flag value. Indeed, Sentius’ expert admitted in his
2    deposition that multiple dictionaries may be called for a given word depending on the language
3    specified for that particular word. [Id. at 112:18-115:10.]”
4            61.         As an initial matter, I did not testify that multiple dictionaries may be called for a
5    given word depending on the language specified for that particular word. In general, that is not the
6    case; however, I would not exclude the possibility of a fringe case where that could be true if
7    somehow the language of one character in the character string was different from the language of
8    another character in the string. To clarify, what I had testified at deposition was that the fError
9    flag with its context initially points the system to the appropriate set of dictionaries.
10           62.         As set forth above, a given input (e.g. character string) passed to a given spell
11   check or grammar check library will repeatedly produce a given set of results from that library, as I
12   have observed. This direct correspondence is what completes the link between, for example, the
13   character string and the information for display from the library for that character string.
14           63.         The accused background spell check functionality meets the link limitations by
15   recording in the spell check table information that links a misspelled word to its corresponding
16   spelling corrections by pointing the system to (a) the set of spell check libraries for the document
17   containing the misspelled word, (b) the particular spell check library for the given misspelled

18   word, and (c) the information needed by the system to retrieve the exact spelling corrections for

19   display for that particular misspelled word. Likewise, the accused background grammar check

20   functionality meets the link limitations by recording in the grammar check table information that

21   links a grammatically incorrect phrase to its corresponding grammar corrections by pointing the

22   system to (a) the set of grammar check dictionaries for the document containing the grammatically

23   incorrect phrase, (b) the particular grammar check library for the given grammatically incorrect

24   phrase, and (c) the information needed to retrieve the exact grammatical corrections for display for

25   that particular phrase.

26           64.         The asserted claims specifically contemplate that the “linking” is executed after a

27   user selects a word or phrase for which the additional information from an external source is
                                                                19
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
     Case 5:13-cv-00825-PSG Document 184-4 Filed 01/22/15 Page 22 of 22



1    desired. Indeed, the selecting, retrieving (where applicable) and displaying steps are all after the
2    recording step in each of the asserted claims. In the accused systems, the link is executed upon the
3    user right-clicking on a misspelled word or grammatically incorrect phrase (or word) in the manner
4    set forth above in which first the appropriate library is loaded, the character string and language
5    arguments passed therein, and the corresponding corrections for that character string selected,
6    retrieved, and displayed.
7

8

9                   _________________                                                _______________
10
                           Vijay Madisetti, Ph.D.                                          Date

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
                                                                20
28   ___________________________________________________________________________________________________________________
     DECLARATION OF DR. VIJAY MADISETTI IN SUPPORT OF SENTIUS INTERNATIONAL, LLC’S
     OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. C-13-0825-PSG
